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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY J. KITZMILLER, et al.             §      Civil Action No. 4:04-CV-2688
                                        §      (M.D. Pa.)
       Plaintiffs,                      §
                                        §      Hon. John E. Jones III
vs.                                     §
                                        §      Motion of Amici Discovery
DOVER AREA SCHOOL                       §      Institute and Foundation for
DISTRICT and DOVER AREA                 §      Thought and Ethics for Leave
SCHOOL DISTRICT BOARD                   §      to File Reply to Plaintiffs’
OF DIRECTORS,                           §      Response to Amicus Briefs
                                        §
       Defendants.                      §

  MOTION OF AMICI DISCOVERY INSTITUTE AND FOUNDATION
  FOR THOUGHT AND ETHICS FOR LEAVE TO FILE REPLY TO
        PLAINTIFFS' RESPONSE TO AMICUS BRIEFS

TO THE HONORABLE COURT:

       The Discovery Institute and the Foundation for Thought and Ethics

(“FTE”) file this motion for leave to file a reply brief.

       In "Plaintiffs' Response to Amicus Briefs" counsel for plaintiffs level

a number of accusations against Amici and their attorneys. Because

plaintiffs ask the Court to rest its opinion in part upon factually false claims

about Amici, Amici respectfully request leave of court to file the attached

reply to these attacks.

       Surprisingly, while Amici were never made parties to this action,

counsel for plaintiffs have chosen to base much of their case on claims about
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The Discovery Institute and Foundation for Thought and Ethics, and

therefore Amici believe that they occupy a status somewhat different from

the typical amicus. Moreover, because plaintiffs' statements, if not rebutted,

could potentially form the basis of a judgment that would directly affect

Amici, Amici believe that they deserve an opportunity to correct the record

with respect to each of plaintiffs' false claims.

                                                Respectfully submitted,



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                     CERTIFICATE OF SERVICE

      I hereby certify that on December 12, 2005, copies of the foregoing

motion were served on the following counsel through the electronic case

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